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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


LONE STAR TECHNOLOGICAL           §
INNOVATIONS, LLC                  §
                                  §
V.                                §     CIVIL NO. 6:19-cv-00059
                                  §
ASUS COMPUTER INTERNATIONAL, §
et al                             §
________________________________________________________________________

                     MINUTES FOR SECOND DAY OF TRIAL
                 HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                MAY 18, 2021

OPEN: 8:21 a.m.                                    ADJOURN: 5:12 p.m.
________________________________________________________________________

ATTORNEYS FOR PLAINTIFF:             John Saba, Joshua Bennett and Monica Litle

ATTORNEYS FOR DEFENDANT: Vinay Joshi and Andrew Oliver

LAW CLERK:                           Jonathan Powers

COURTROOM DEPUTY:                    Betty Schroeder

COURT REPORTER:             Kate McAlpine
________________________________________________________________________

8:54 a.m.   Outside the presence of the jury, the Court advises the parties it is away of the
            motion for mistrial curative instruction request filed last night and will take it up later

8:56 a.m.   Jury seated

8:56 a.m.   Mr. Bennett continues with his direct examination of Mr. Lin

9:19 a.m.   Objection by Mr. Bennett; Court - sustained

9:19 a.m.   Response to objection by Mr. Joshi; Court will sustain the objection and strike the
            response

9:22 a.m.   Objection by Mr. Bennett; Court - sustained and will strike response
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9:25 a.m.    Objection by Mr. Bennett; Court - rephrase the question

9:44 a.m.    Objection by Mr. Joshi; Court - overruled

9:45 a.m.    Objection by Mr. Bennett; Court - overruled - rephrase the question

9:55 a.m.    Mr. Joshi begins cross (and his direct by agreement) examination of Mr. Lin

10:02 a.m.   Objection by Mr. Bennett; Court - rephrase the question

10:03 a.m.   Objection by Mr. Bennett; Court - sustained - rephrase the question

10:06 a.m.   Objection by Mr. Bennett; Court - lay a foundation

10:06 a.m.   Objection by Mr. Bennett; Court - overruled

10:08 a.m.   Objection by Mr. Bennett; Court - overruled

10:26 a.m.   Objection by Mr. Bennett; Court - overruled

10:40 a.m.   Jury excused

10:40 a.m.   Outside the presence of the jury, Court and parties discuss the Motion for Mistrial or
             curative instruction; Court questions the parties regarding the timing of the
             infringement expert’s testimony

10:53 a.m.   Recess

11:11 a.m.   Mr. Joshi continues with examination of Mr. Lin

11:21 a.m.   Objection by Mr. Bennett; Court - rephrase the question

11:28 a.m.   Objection by Mr. Bennett; Court - rephrase the question

11:29 a.m.   Objection by Mr. Bennett; Court - sustained

11:31 a.m.   Objection by Mr. Bennett; Court - lay a foundation

11:38 a.m.   Objection by Mr. Bennett; Court - sustained

11:39 a.m.   Objection by Mr. Bennett; Court - sustained

11:42 a.m.   Objection by Mr. Bennett; Court - lay a foundation

11:49 a.m.   Objection by Mr. Bennett; Court - overruled
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11:50 a.m.   Mr. Bennett begins redirect examination of Mr. Lin

11:53 a.m.   Objection by Mr. Joshi; Court responds

12:05 p.m.   Objection by Mr. Bennett; Court - sustained - jury to ignore the response

12:14 p.m.   Objection by Mr. Joshi; Court - overruled

12:15 p.m.   Jury excused for lunch

12:16 p.m.   Outside the presence of the Court, the parties and Court discuss Mr. Lin’s testimony

12:20 p.m.   Recess

1:17 p.m.    Jury seated

1:17 p.m.    Mr. Bennett continues with redirect examination of Mr. Lin

1:33 p.m.    Objection by Mr. Bennett; Court - sustained - jury to ignore answer

1:43 p.m.    Objection by Mr. Bennett; Court - sustained - jury to ignore response

1:49 p.m.    Mr. Joshi begins recross examination of Mr. Lin

1:51 p.m.    Objection by Mr. Bennett; Court - overruled

1:53 p.m.    Objection by Mr. Bennett; Court - sustained

1:54 p.m.    Objection by Mr. Bennett; Court - overruled

1:56 p.m.    Objection by Mr. Bennett; Court - sustained

1:59 p.m.    Mr. Bennett continues with redirect examination of Mr. Lin

2:01 p.m.    Mr. Bennett calls Dr. Al Ducharme; witness sworn

2:03 p.m.    Jury excused

2:04 p.m.    Outside the presence of the jury, Court and parties discuss objections to the
             demonstratives

2:09 p.m.    Jury seated

2:09 p.m.    Mr. Saba begins direct examination of Dr. Ducharme
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2:20 p.m.   Objection by Mr. Joshi; Court - overruled

2:25 p.m.   Objection by Mr. Joshi; Mr. Saba doesn’t have any objection to a running objection
            from Mr. Joshi

3:26 p.m.   Recess

3:51 p.m.   Jury seated

3:51 p.m.   Mr. Saba continues with direct examination of Dr. Ducharme

4:38 p.m.   Objection by Mr. Joshi; Mr. Saba responds

5:03 p.m.   Jury excused

5:04 p.m.   Outside the presence of the jury, Mr. Joshi advises that he wishes to seal the
            courtroom during parts of the cross examination of Dr. Ducharme; Court responds;
            Court and parties discuss Mr. Joshi wishing to use the Court’s claim construction
            order as a demonstrative; Mr. Oliver asks for clarification on the Section 101
            inoperability defense; Mr. Bennett responds; Court responds; Mr. Oliver questions
            the Court regarding corporate reps bring their cell phones up; Court responds; Mr.
            Oliver questions the Court regarding being able to look at and use the monitors
            presented today; Court responds

5:12 p.m.   Recess
